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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA

BESSIE NEAL,                              )
                                          )
       Plaintiff,                         )
                                          )
v.                                        )       CIV-04-1435-R
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
       Defendant.                         )

                FINDINGS OF FACT AND CONCLUSIONS OF LAW

       On January 11, 2006, the above-styled case brought pursuant to the Federal Tort

Claims Act (“FTCA”), 28 U.S.C. §§ 1346(b), 2674, was tried to the Court. Following are

the Court’s findings of fact and conclusions of law.

                                      Findings of Fact

       Plaintiff Bessie Neal fell in the Fort Sill Sheridan Road Shoppette during the evening

of November 28, 2001. That evening was cold and wet. It had snowed that day. On the

evening that Plaintiff fell, five signs had been placed throughout the store. A sign was

located between the outer doors and inner door of the shoppette bearing the words “Please

wipe your feet.” Two “Caution: Wet Floor” signs were placed at the end of the floor mat

which was placed inside the inner door to the shoppette. Another “Caution: Wet Floor” sign

was located between the third and fourth cash registers. Another “Caution: Wet Floor” sign

was located in the aisle by the cappuccino machine. At the direction of the shoppette’s shift

manager, Hayward Johnson, a laborer employed by the shoppette, Todd Tyo, had put out the

signs, placed floor mats inside the shoppette, changed the floor mats out as they became wet,
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monitored the floor and mopped it when it became wet. Plaintiff fell after she had purchased

cigarettes and two cappuccinos at the fourth cash register, realized she had forgotten to pay

for her gas, and as she turned back to her right to do so.

       After she fell, Plaintiff was transported by ambulance to the Reynolds Army

Community Hospital Emergency Room where she was treated and released the same night.

Plaintiff received follow-up care from Dr. David Anderson, who she testified was her family

physician, for complaints of pain in her right shoulder and right knee. On April 25, 2002,

MRIs of Plaintiff’s right knee and right shoulder ordered by Dr. Anderson were taken.

Defendant’s Exhibit 4, Nos. 0152 & 0154. The MRI of Plaintiff’s right knee was

“unmarkable,” id. at No. 0152, and the MRI of her right shoulder revealed “no rotator cuff

tear or other significant abnormality.” Id. at No. 0154. Dr. Anderson subsequently referred

Plaintiff to Dr. Donald Baldwin. Dr. Baldwin performed surgery on Plaintiff’s right shoulder

on December 12, 2002. Plaintiff testified and Dr. Baldwin’s records reflect that Dr. Baldwin

repaired a partially torn rotator cuff. Plaintiff continued to have pain in her right shoulder

following surgery. Dr. Baldwin referred Plaintiff to Dr. Ndekwe for pain management.

Plaintiff also went to physical therapy for two and one-half weeks.

       Plaintiff testified that she wore a brace on her right knee for 2 ½ months but that her

knee recovered. She also testified that she still has pain in her right shoulder and is still

taking pain medication. She testified that the pain in her right shoulder is not worse but it’s

not better.     Plaintiff offered no medical opinion testimony that her rotator cuff tear was

caused by her fall at the shoppette or, for that matter, that the pain in her shoulder and knee

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was caused by the fall. The medical records showed that Plaintiff had knee and shoulder

problems prior to her fall.

                                      Conclusions of Law

       Plaintiff’s claim is predicated on the United States’ waiver of sovereign immunity

under the FTCA. Pursuant to the FTCA, the United States is liable on tort claims “in the

same manner and to the same extent as a private individual under like circumstances,” 28

U.S.C. § 2674, “in accordance with the law of the place where the act or omission occurred,”

28 U.S.C. § 1346(b). Thus, the Court looks to the law of the state in which the alleged

tortious conduct occurred, Oklahoma, to determine whether Defendant United States is

liable. Ayala v. United States, 49 F.3d 607, 611 (10th Cir. 1995).

       Under Oklahoma law, a plaintiff asserting a negligence claim must prove by a

preponderance of the evidence three essential elements: 1) that the defendant owed a duty

to the plaintiff; 2) that the defendant breached that duty; and 3) that the plaintiff sustained an

injury proximately caused by the defendant’s breach of that duty. See, e.g., Roberson v.

Waltner, 108 P.3d 567, 569 (Okla. 2005); Copeland v. Lodge Enterprises, Inc., 4 P.3d 695,

699 (Okla. 2000). See also Brown v. Wal-Mart Stores, Inc., 11 F.3d 1559, 1563 (10th Cir.

1993) (applying Oklahoma law). Under Oklahoma law, a business owner owes a duty to its

customers or invitees to exercise reasonable care to keep its premises in a reasonably safe

condition and to prevent injury to its invitees. See Dover v. W.H. Braum, Inc., 111 P.3d 243,

245 (Okla. 2005); Thomas v. E-Z Mart Stores, Inc., 102 P.3d 133, 136 (Okla. 2004) (quoting

Pickens v. Tulsa Metropolitan Ministry, 951 P.2d 1079, 1083-84 (Okla. 1998)); Brown v.

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Wal-Mart Stores, Inc., 11 F.3d at 1563. A landowner or business invitor has a duty to warn

customers or invitees of dangerous conditions on the premises which are known or ought to

be known to the owner and are unlikely to be discovered by the invitee or which are in the

nature of hidden dangers, traps, snares and the like. Dover, 111 P.3d at 245; Thomas, 102

P.3d at 136; Martin, 92 P.3d at 97; Brown, 11 F.3d at 1563. A business owner or invitor is

not a guarantor of the safety of its invitees. Dover, 111 P.3d at 243.

       Plaintiff was a business invitee at the time she fell in the shoppette, Defendant’s

premises. However, Plaintiff has failed to prove by a preponderance of the evidence that

Defendant as a business owner or invitor breached a duty owed to Plaintiff under Oklahoma

law. Under the circumstances the Court finds that the Defendant did all that could

reasonably be expected to maintain the premises in a safe condition and that the customers,

including Plaintiff, were warned and were fully aware that because of the weather the floor

was potentially slick. Additionally, Plaintiff has failed to prove by a preponderance of the

evidence that she sustained injuries proximately caused by Defendant’s breach of a duty

owed to the Plaintiff. Accordingly, Defendant is not liable on Plaintiff’s negligence claim

under the FTCA and is entitled to judgment herein.




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IT IS SO ORDERED this 13th day of January, 2006.




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